  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


YELLOWHAMMER FUND, on     )
behalf of itself and its )
clients,                  )
                          )
     Plaintiff,           )
                          )       CIVIL ACTION NO.
     v.                   )         2:23cv450-MHT
                          )              (WO)
ATTORNEY GENERAL OF       )
ALABAMA STEVE MARSHALL,   )
in his official capacity, )
                          )
     Defendant.           )


WEST ALABAMA WOMEN’S        )
CENTER, on behalf of        )
themselves and their        )
staff; et al.,              )
                            )
     Plaintiffs,            )
                            )     CIVIL ACTION NO.
     v.                     )       2:23cv451-MHT
                            )            (WO)
STEVE MARSHALL, in his      )
official capacity as        )
Alabama Attorney General,   )
                            )
     Defendant.             )

                   OPINION AND ORDER

    At its core, this case is simply about whether a

State may prevent people within its borders from going
to another State, and from assisting others in going to

another State, to engage in lawful conduct there.

    In Dobbs v. Jackson Women’s Health Org., the United

States Supreme Court held that the U.S. Constitution no

longer protects a right to abortion, allowing States to

regulate and restrict abortions before viability.                      597

U.S. 215 (2022).           In Alabama, it is now a felony for

anyone to perform or attempt to perform an abortion

absent a medical emergency.             See Ala. Code § 26-23H-4.

    Plaintiff          Yellowhammer       Fund     is    a   nonprofit

organization           dedicated    to     reproductive       justice.

Plaintiffs West Alabama Women’s Center, Alabama Women’s

Center,          and       Dr.      Yashica          Robinson          are

reproductive-healthcare providers.                 Before Dobbs, the

plaintiffs all either helped coordinate abortions in

Alabama    or    provided     abortions        themselves.      Part   of

their     work    also     consisted      of     arranging   abortions

outside    Alabama.         The    plaintiffs      all   ceased   their

abortion-related services in the wake of Dobbs.


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     Although     the    plaintiffs      may    no     longer     legally

coordinate abortions in Alabama, they wish to help the

people they serve access abortions in States where such

abortions are lawful.          The plaintiffs have not done so

because    Alabama’s     Attorney      General,      defendant       Steve

Marshall, has threatened to prosecute anyone who helps

arrange     abortions     in   other     States.        The     Attorney

General     has   publicly        declared      that     Alabama       law

prohibits       anyone     from        assisting       or       otherwise

facilitating an out-of-state act that, if performed in

Alabama, would constitute a crime, including performing

or   attempting    to    perform   abortions.          The    plaintiffs

would all resume providing assistance to people seeking

abortions if not for the Attorney General’s threats.

     The    plaintiffs     filed    these      two   now-consolidated

lawsuits     seeking      declaratory        judgments        that     the

Attorney General cannot constitutionally prosecute the

act of facilitating lawful out-of-state abortions and

injunctive relief preventing the Attorney General from


                                   3
so prosecuting.            While the claims brought by each of

the    four     plaintiffs           vary       slightly,    this      litigation

tasks    the    court      with       resolving      whether      the    Attorney

General’s threats, if carried out, would violate four

constitutional protections: the right to travel, the

freedom of expression, the constitutional limitations

on the extraterritorial application of state law, and

the      fair-warning               requirement        of        due     process.

Jurisdiction         is   proper       pursuant      to     28   U.S.C.    § 1331

(federal question) and 28 U.S.C. § 1334 (civil rights).

       This    cause      is    before       the   court    on    the    Attorney

General’s       motion         to    dismiss.         He    argues      that   the

plaintiffs lack standing to assert many of their claims

and     that,    even      if       the     plaintiffs       could      establish

standing, the lawfulness of abortions in other States

does      not        render          his         threatened        prosecutions

unconstitutional.              The motion has been fully briefed,

and    the    U.S.     Department           of   Justice    has     submitted    a

statement       of    interest         contending         that    the    Attorney


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General’s     threatened        enforcement    would       violate   the

right to travel.          For the reasons set forth below, the

court will grant the motion in part and deny it in

part.



                  I.   MOTION-TO-DISMISS STANDARD

      The Attorney General brings his motion to dismiss

pursuant to Federal Rules of Civil Procedure 12(b)(1)

for lack of subject-matter jurisdiction and 12(b)(6)

for failure to state a claim upon which relief can be

granted.         Unless    a   defendant     disputes      the   factual

contentions       relevant     to    subject-matter     jurisdiction,

Rule 12(b)(1) affords a plaintiff “safeguards similar

to those provided in opposing a Rule 12(b)(6) motion.”

Lawrence    v.    Dunbar,      919   F.2d   1525,   1529    (11th    Cir.

1990).     Here, the Attorney General is not attempting to

introduce     competing        jurisdictional       facts    into    the

record.     Because he is not mounting a factual attack on

the      court’s       subject-matter          jurisdiction,         any


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distinction between Rule 12(b)(6) and Rule 12(b)(1) is

immaterial to the instant motion.

       Accordingly, the court will evaluate the Attorney

General’s entire motion using the standards applicable

to Rule 12(b)(6).              To survive a motion to dismiss under

Rule    12(b)(6),         a    complaint             “must     contain    sufficient

factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face.’”                                  Ashcroft v.

Iqbal,       556   U.S.       662,        678       (2009)   (quoting     Bell     Atl.

Corp. v. Twombly, 550 U.S. 544, 570, (2007)).                                “A claim

has    facial      plausibility                 when     the    plaintiff      pleads

factual       content         that    allows           the   court   to    draw    the

reasonable inference that the defendant is liable for

the misconduct alleged.”                    Id.



                                 II. BACKGROUND

       The    allegations            in    the       complaint,      taken    in   the

light most favorable to the plaintiffs, establish the

following facts.


                                                6
       Yellowhammer Fund is a Tuscaloosa-based nonprofit

advocacy    group      committed        to   supporting       families   and

promoting      equity        in    reproductive        healthcare.        To

further its mission, the Fund distributes free diapers,

school     supplies,          pregnancy           tests,   contraception,

hygiene        products,          emergency         contraception,       and

sex-education        materials.         Before       Dobbs,   Yellowhammer

Fund    also    used    to    operate        an    abortion    fund,   which

provided financial assistance and logistical support,

including       help     coordinating              food,   lodging,      and

childcare,      to     people      in   Alabama      seeking    abortions.

Between 15 and 20 percent of the abortions that the

Fund’s clients received occurred outside of Alabama.1

The Fund arranged for its clients’ travel either by




    1. The court uses the term ‘clients’ as shorthand
for the class of individuals whom the plaintiffs serve
and wish to serve, including West Alabama, Alabama
Women’s   Center,   and   Dr.   Robinson’s   patients;
Yellowhammer Fund’s would-be funding recipients; and
individuals who approach the plaintiffs with requests
for assistance.

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having    its        staff    members          transport    them     to     their

out-of-state         appointments          or    by    helping    its     clients

book bus and plane tickets.

    West Alabama Women’s Center (“West Alabama”) and

Alabama     Women’s          Center        are    reproductive-healthcare

providers that offer routine checkups, prenatal care,

testing        and     treatment           for        sexually     transmitted

infections,          and      pregnancy          testing,        among      other

services.        Dr.       Robinson,       who    serves    as     the    medical

director of Alabama Women’s Center, “provide[s] a broad

range     of     reproductive          and        women’s        health     care,

including but not limited to general OB-GYN care; major

and minor gynecological surgeries; prenatal, delivery

and post-partum care; management of infertility; and

primary care.”          West Alabama et al.’s Compl. (Doc. 23)

¶ 12.

    As    stated,          before     Dobbs,      West     Alabama,       Alabama

Women’s     Center,          and    Dr.        Robinson     used     to     offer

abortions       themselves          and,       where    appropriate,        would


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arrange      for     out-of-state          abortions.            These       three

healthcare         providers        helped     their       clients          secure

funding      for    their    abortions       and,        like    Yellowhammer

Fund,     provided        logistical       support.         For       medically

complex cases, Dr. Robinson would communicate directly

with out-of-state physicians to relay pertinent records

and coordinate pre-procedure medical testing.

       That all changed when Dobbs cleared the way for

Alabama’s abortion restrictions, which this court had

preliminarily            enjoined     as      a     violation          of      the

constitutional right to an abortion, to take effect.

See Robinson v. Marshall, 415 F. Supp. 3d 1053, 1060

(M.D. Ala. 2019) (Thompson, J.) (granting preliminary

injunction); Robinson v. Marshall, No. 2:19-cv-365-MHT,

2022    WL   2314402,       at   *1    (M.D.       Ala.    June       24,    2022)

(Thompson,         J.)     (vacating        preliminary          injunction).

Under Alabama law, it is now “unlawful for any person

to   intentionally          perform    or    attempt        to    perform      an

abortion       except ... in          the         case     of     a      medical


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emergency.”       Ala. Code § 26-23H-4.            The restrictions

exempt    those    who    receive      abortions    from    civil       and

criminal liability.           See id. § 26-23H-5.          But anyone

who performs or attempts to perform an abortion can be

charged with a Class A felony, punishable by anywhere

between    10     and    99    years     in   prison.           See     id.

§ 26-23H-6;       id.    § 13A-5-6(a)(1).          The    restrictions

amount to a “near-total ban on abortion.”                       Robinson,

415 F. Supp. 3d at 1055.            After the Dobbs opinion was

issued,   the     four    plaintiffs     stopped    providing         their

clients with abortion-related information, counseling,

and other resources.

      On the day that Dobbs was decided, a representative

in Alabama’s state legislature speculated that, with

the   abortion     restrictions     in   effect,    “anyone       can    be

prosecuted      for     conspiracy ... if     they       help     someone

either get or even plan to get an abortion in another

state.”    West Alabama et al.’s Compl. (Doc. 23) ¶ 27.

The representative cited Alabama’s interjurisdictional


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conspiracy      statute,   which    was     passed   in     1896   and

provides that “[a] conspiracy formed in this state to

do an act beyond the state, which, if done in this

state, would be a criminal offense, is indictable and

punishable in this state in all respects as if such

conspiracy had been to do such act in this state.”

Ala.     Code    § 13A-4-4.         Under     Alabama’s       general

conspiracy statute, “[a] person is guilty of criminal

conspiracy       if,   with    the        intent     that     conduct

constituting an offense be performed, he or she agrees

with one or more persons to engage in or cause the

performance of the conduct, and any one or more of the

persons does an overt act to effect an objective of the

agreement.”     Id. § 13A-4-3(a).

       In response to the state representative’s comment,

the Attorney General announced that he was “reviewing

the matter.”       West Alabama et al.’s Compl. (Doc. 23)

¶ 28.    A few weeks later, at a local Federalist Society

meeting, he stated that he would prosecute anyone who


                               11
helped   someone    else    obtain     an   out-of-state        abortion

under Alabama’s conspiracy laws.

      The Attorney General reiterated his commitment to

prosecuting     those     who   help    coordinate          out-of-state

abortions during an appearance on the Jeff Poor Show,

an online radio program.             The show’s host asked him

what he thought of “some of the talk from the left that

you   could   be   an    accomplice     somehow       by    transporting

someone across state lines for abortion.”                   West Alabama

et    al.’s   Compl.    (Doc. 23)     ¶ 32.      In    response,     the

Attorney      General      emphasized         that,        in   Alabama,

performing an abortion “is the most significant offense

we have as far as punishment goes under a criminal

statute absent a death penalty case.              And so provisions

relating to accessory liability, provisions relating to

conspiracy,     would    have   applicability         involving     this

particular act.”        Id. ¶ 33.     He elaborated:

      “[O]ne thing we will do in working with local
      law enforcement and prosecutors is making sure
      that we fully implement this law. ... [I]f any
      individual held themselves out ... as an entity

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     or a group that is using funds, that they are
     able   to   raise,   uh,    to   be   able   to
     facilitate ... those visits then that, uh, is
     something we are going to look at closely. ...
     To the extent that there [are] groups, and
     we’ve seen groups out of Tuscaloosa for
     example, that have one point in time have
     talked about it, some of them are doing it now,
     but if they are promoting this as one of the
     services, we clearly will be taking a look at
     that.”

Yellowhammer Fund’s Compl. (Doc. 1) ¶ 21.                    A few months

after his radio show appearance, the Attorney General

again noted “that prosecution is also possible to those

who aid and abet abortions.”               Id. ¶ 23.

     The Attorney General’s comments about liability as

an   accessory     or     for    aiding    and    abetting    an   offense

seemingly        refer     to    Alabama’s        criminal     complicity

statute,       under     which    anyone    who    induces,     aids   and

abets,    or     fails    to     prevent    a    crime   is    criminally

liable.     See Ala. Code § 13A-2-23.                  Prosecutions for

complicity are generally pursued when the substantive

offense     is    completed,       but     where    an   offense     never

reaches fruition, “it is contemplated that solicitation


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charges will be brought.”              Id. § 13A-2-23 cmt.              Under

Alabama’s solicitation statute, “[a] person is guilty

of   criminal    solicitation       if,       with      the    intent    that

another person engage in conduct constituting a crime,

he or she solicits, requests, commands or importunes

another    person     to   engage       in     such     conduct.”            Id.

§ 13A-4-1(a)(1).

     The Attorney General’s threats to prosecute people

for facilitating out-of-state abortions were reported

widely    in    the   media,     which       is   how    the    plaintiffs

learned    of   them.      The   four        plaintiffs       all     wish    to

continue    serving     people    in     Alabama        who    seek    lawful

out-of-state abortions and would do so if not for the

Attorney General’s threats.              Collectively, they still

receive as many as 95 weekly inquiries from clients

about     the   availability       of        out-of-state       abortions.

Yellowhammer Fund no longer operates its abortion fund

and has eliminated a position on its staff dedicated to

overseeing      the     organization’s            efforts       to     reduce


                                   14
obstacles to abortions.            The Fund also used to work

with other advocacy groups and abortion funds but no

longer does so for fear of prosecution.                            The three

healthcare    providers      no   longer     respond          to    questions

from clients and physicians about medical procedures

available in other States.

       The plaintiffs do not concede that Alabama law or

the U.S. Constitution authorizes the Attorney General

to prosecute someone for assisting others in obtaining

abortions      that    are        lawful         in     other         States.

Nonetheless,    even   an     unsuccessful            prosecution       would

impose    financial,   emotional,         and     reputational          costs

that the plaintiffs and their staff cannot bear.

       Yellowhammer    Fund       and      the        three        healthcare

providers filed their respective complaints on the same

day.     The Fund contends that the Attorney General’s

threatened    prosecutions        would    violate        its       right   to

travel, as well as its clients’ right to travel; the

First Amendment; and its right to be free from the


                                   15
extraterritorial application of Alabama law.                              Two of

the healthcare providers (Alabama Women’s Center and

Dr. Robinson) claim that the Attorney General cannot

act   on    his    threats       without       violating        their    clients’

right      to    travel.         And    all    three     of     the    healthcare

providers bring a claim on their own behalf and on

behalf      of    their         staff    members         that    the     Attorney

General’s enforcement campaign would violate the First

Amendment and due process.                    The court consolidated the

two cases at the Attorney General’s request.

      The Attorney General has reiterated throughout this

litigation        that     he    stands       by   his    interpretation       of

Alabama law--and that he can prosecute those who help

people in Alabama engage in conduct in another State

that, though lawful there, would be a crime if done in

Alabama.




                                         16
                          III. DISCUSSION

     As stated, the court must determine whether the

Attorney General’s intended enforcement of Alabama law

would violate four constitutional guarantees: the right

to   travel,    the   First   Amendment,     the    limits    on    the

extraterritorial       application    of    state    law,    and    the

right to due process.         Not every plaintiff makes each

of   these     constitutional   claims,     and     the   plaintiffs

bring some claims on behalf of their clients and staff.

Before    discussing    the   parties’     arguments,       the   court

briefly outlines which of the plaintiffs asserts which

of these four claims, and on whose behalf.

     First, Yellowhammer Fund and two of the healthcare

providers,     West   Alabama   and   Dr.    Robinson,      assert    a

right-to-travel claim on behalf of their clients.                   The

Fund also brings a right-to-travel claim on its own

behalf.      The third medical provider, Alabama Women’s

Center, does not bring a right-to-travel claim at all.


                                17
    Second, all four of the plaintiffs assert First

Amendment    claims    on   their      own       behalf.         The   three

healthcare providers also bring a First Amendment claim

on behalf of their staff.

    Third,    only    Yellowhammer          Fund      contends    that   the

Attorney     General’s      reading         of     Alabama’s      criminal

statutes     would       amount        to        an     unconstitutional

extraterritorial application of state law.                        The Fund

asserts its extraterritoriality claim on its own behalf

only.

    Fourth and finally, the three healthcare providers

argue that the Attorney General’s intended enforcement

of Alabama law would violate the Due Process Clause by

failing to provide fair warning of what it prohibits.

The healthcare providers bring their due process claim

on behalf of themselves and their staff.




                                  18
                       A. The Right to Travel

      Yellowhammer Fund, Alabama Women’s Center, and Dr.

Robinson argue that the right to travel forbids the

Attorney General from using Alabama law to prosecute

someone      for    facilitating     out-of-state         abortions    in

States where they are lawful.                 The Attorney General

responds that these three plaintiffs lack standing to

bring a right-to-travel claim on their clients’ behalf,

and that, even if these plaintiffs did have standing,

Alabama can prohibit their abortion-related assistance

without violating their clients’ constitutional rights.

Regarding     the    Fund’s      claim   on   its   own    behalf,    the

Attorney General contends that only natural persons,

and not organizations, enjoy a right to travel at all,

and   that    even   if    an    organizational     right     to   travel

existed,     it    would   not    protect     travel   that    furthers

criminal conduct.

      The court concludes that the plaintiffs all have

standing and that the plaintiffs’ factual contentions,


                                    19
if    proven,    amount   to    a     violation     of   their    clients’

right to travel.        The court will reserve judgment as to

whether Yellowhammer Fund enjoys a right to travel and

thus also whether the Attorney General violated that

right.



           1.     Standing

      The court will first address the threshold issue of

standing.         In    general,       to   establish         standing,     a

plaintiff must have “‘alleged such a personal stake in

the    outcome    of    the    controversy’       as     to   warrant     his

invocation of federal-court jurisdiction and to justify

exercise of the court’s remedial powers on his behalf.”

Warth v. Seldin, 422 U.S. 490, 498-99 (1975) (quoting

Baker    v.     Carr,   369    U.S.    186,   204      (1962)).      “‘[A]

plaintiff must demonstrate standing for each claim he

seeks to press’ and ‘for each form of relief’ that is

sought.”      Davis v. Fed. Election Comm’n, 554 U.S. 724,




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734 (2008) (quoting DaimlerChrysler Corp. v. Cuno, 547

U.S. 332, 352 (2006)).

       The      “irreducible           constitutional          minimum        of

standing” has three elements.                   Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560 (1992).                     A plaintiff must

have    “(1)        suffered    an   injury    in    fact,     (2)   that     is

fairly       traceable     to    the       challenged      conduct     of    the

defendant, and (3) that is likely to be redressed by a

favorable judicial decision.”                  Spokeo, Inc. v. Robins,

578 U.S. 330, 338 (2016).                  If a plaintiff cannot meet

these        requirements,           the     court      does     not        have

jurisdiction over the case.                  See Stalley ex rel. U.S.

v. Orlando Reg’l Healthcare Sys., Inc., 524 F.3d 1229,

1232 (11th Cir. 2008).

       The court finds, and the Attorney General does not

dispute, that all of the plaintiffs have satisfied the

constitutional requirements for standing and thus have

what is often referred to as ‘Article III standing’ to

bring        each     claim.         Therefore,      the     court     has     a


                                       21
“virtually unflagging” obligation to hear and decide

the    issues.        Lexmark     Int’l,    Inc.     v.    Static      Control

Components,      Inc.,     572    U.S.    118,    126     (2014)     (quoting

Sprint    Commc’ns,       Inc.     v.     Jacobs,    571      U.S.     69,    77

(2013)).

       Nonetheless,       the    Attorney     General         insists    that,

though    the    court    has     jurisdiction,         the    court    should

decline to adjudicate the plaintiffs’ claim asserting

their clients’ right to travel.                     Generally, a party

“must assert his own legal rights and interests, and

cannot rest his claim to relief on the legal rights or

interests of third parties.”                Kowalski v. Tesmer, 543

U.S.    125,    129     (2004).      This    principle         reflects      the

assumption       that    “the     party    with     the    right     has     the

appropriate incentive to challenge (or not challenge)

governmental action and to do so with the necessary

zeal    and    appropriate        presentation.”           Id.       However,

unlike Article III standing, which is a constitutional

and    jurisdictional           requirement,      the     limitations         on


                                     22
asserting the rights of third parties are prudential,

meaning they are “flexible and not jurisdictional in

nature.”        United States v. Blake, 868 F.3d 960, 970

(11th       Cir.     2017).         Prudential        requirements          are

“self-imposed constraints [that] are intended to ensure

the proper role of the courts.”                    Harris v. Evans, 20

F.3d 1118, 1121 (11th Cir. 1994).

      The      principle        limiting       claims        that        assert

third-party          rights    is   hardly        absolute.          On     the

contrary, the Supreme Court has consistently recognized

a    “class    of     cases    where    [it]      ‘allowed    standing       to

litigate the rights of third parties when enforcement

of    the     challenged      restriction      against       the    litigant

would       result    indirectly       in   the    violation        of    third

parties’ rights.’”            Kowalski, 543 U.S. at 131 (emphasis

added) (quoting Warth, 422 U.S. at 510).2                           One such




    2. See also, e.g., U.S. Dep’t of Lab. v. Triplett,
494 U.S. 715, 720 (1990) (permitting an attorney
disciplined for accepting a fee prohibited by the Black
(continued...)
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case,   Craig   v.     Boren,    is    particularly    illustrative.

429 U.S. 190 (1976).        In Craig, a beer vendor sought to

prevent the enforcement of a statute that prohibited

the sale of beer to men under the age of 21 and to

women under the age of 18.             The vendor argued that the

statute   unconstitutionally           discriminated    against      men

between the ages of 18 and 20.             The Supreme Court held

that the vendor, because she had Article III standing,

was   “entitled   to    assert    those    concomitant      rights    of

third   parties      that   would     be   ‘diluted    or   adversely

affected’ should her constitutional challenge fail and



Lung Benefits Act of 1972 to invoke claimants’ due
process rights to challenge the fee restriction that
resulted in his punishment); Doe v. Bolton, 410 U.S.
179, 188 (1973), abrogated in part on other grounds by
Dobbs v. Jackson Women’s Health Org., 597 U.S. 215
(2022) (permitting criminally liable physicians to
raise the rights of patients seeking abortions);
Griswold v. Connecticut, 381 U.S. 479, 481 (1965)
(permitting a criminally liable physician to assert the
rights of a married couple seeking contraception);
Barrows v. Jackson, 346 U.S. 249, 257-59 (1953)
(permitting a white tenant sued for conveying property
to African-American individuals to raise the rights of
prospective African-American purchasers).

                                  24
the statutes remain in force.”                 Id. at 195 (emphasis

added) (quoting Griswold v. Connecticut, 381 U.S. 479,

481 (1965)).       The Court further explained that because

the statute prohibited vendors from distributing beer

to young men rather than directly prohibiting young men

from    drinking    beer,      the        vendor    was    the     “obvious

claimant” and “least awkward challenger.”                    Craig, 429

U.S. at 197.

       The same reasoning holds true here.                  Just as the

statute    in   Craig   was       directed     at    the    vendor,     the

Attorney     General     has       addressed        his     threats      of

enforcement to the plaintiffs and their staff.                      He has

declared    his    intent     to     prosecute       any    “entity”     or

“group”     that     facilitates           out-of-state          abortions.

Yellowhammer       Fund’s      Compl.        (Doc. 1)      ¶ 21.         He

specifically mentioned “groups out of Tuscaloosa” as

organizations      of   interest,          apparently      referring     to

Yellowhammer Fund.          Id.      The plaintiffs contend that

targeting them for helping their clients leave Alabama


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and obtain medical services that are lawful in other

States infringes on their clients’ right to travel.                 As

in Craig, the plaintiffs, by virtue of being the target

of the Attorney General’s enforcement, are the “obvious

claimants” and “least awkward challengers.”               Craig, 429

U.S. at 197.        Indeed, consistent with the logic of

Craig,    the    Supreme   Court      has   long     allowed   parties

facing     the     prospect      of     enforcement       to     bring

right-to-travel claims on behalf of third parties whose

travel they wish to facilitate.             See, e.g., Crandall v.

Nevada,     73     U.S.    35,     39       (1867)     (upholding    a

stage-company agent’s challenge to a tax on crossing

the state border on the passengers’ behalf); Edwards v.

California, 314 U.S. 160, 170-71 (1941) (permitting a

man who helped his brother-in-law enter California to

challenge a statute forbidding individuals from helping

indigent persons enter the State).




                                 26
      The Attorney General attempts to distinguish Craig

on various fronts,3 but he forgets that Craig is just

one   example   of   the   broader   principle   that   litigants

threatened with enforcement are well positioned, if not

entitled, to assert the rights of third parties that

are intertwined with the conduct the litigants seek to

pursue.       The    Attorney   General   also    attacks    that

principle’s     applicability        to   the    organizational

plaintiffs by arguing that they cannot technically be



    3. The Attorney General observes that, unlike the
statute in Craig, which was directed at vendors,
Alabama’s criminal laws are not explicitly addressed to
the plaintiffs or their staff.     But the Supreme Court
in Craig highlighted the vendor’s statutory duties only
to explain that she had Article III standing, which the
Attorney General does not dispute that the plaintiffs
have adequately pleaded.     The Attorney General also
notes that, in Craig, the State had not objected in the
lower courts to the vendor’s assertion of the rights of
third parties, leaving the Court reluctant to “await
the initiation of a new challenge to the statute by
injured    third    parties”    before     reaching    the
constitutional claims. 429 U.S. at 194. But the Court
in   Craig   emphasized   that,   regardless    of   these
circumstances,    the    vendor     “ha[d]     established
independently her claim to assert jus tertii standing.”
Id.

                                27
prosecuted because the Alabama statutes do not provide

for    corporate           liability.          However,      taking         the

allegations in the complaint as true, he has threatened

to prosecute the plaintiff organizations’ staff with

the   express    purpose       of    frustrating     the    work       of   the

“entit[ies]”         and     “group[s]”       for   whom        they    work.

Yellowhammer         Fund’s       Compl.      (Doc. 1)     ¶ 21.            The

organizational plaintiffs, of course, cannot function

without   their       staff       members.     As   far    as    the    Craig

rationale       is     concerned,          enforcement      against         the

plaintiffs’      staff       is     the    functional      equivalent        of

enforcement      against           the     organizations        themselves,

considering          that     the        Attorney   General’s          stated

objective is to target the organizations.4




    4. The Attorney General does not seem to challenge
the Craig rationale’s applicability to Dr. Robinson’s
assertion of her clients’ right to travel. Because Dr.
Robinson has standing to bring claims asserting
third-party rights under Craig, the court’s standing
analysis could, theoretically, stop there.        When
multiple plaintiffs assert common claims for the same
(continued...)
                           28
    Moreover,      regardless    of    the   Craig     rationale’s

applicability, the plaintiffs each satisfy the standard

prudential requirements to assert their clients’ right

to travel.    Courts use a two-factor test to determine

whether plaintiffs have standing to assert third-party

rights:   first,    whether   the    plaintiffs   have      a    ‘close

relationship’      to   the   third    parties;      and,       second,

whether the third parties are ‘hindered’ from asserting




relief, only one of them must establish standing. See,
e.g., Fla. ex rel. Atty. Gen. v. U.S. Dep’t of Health &
Hum. Servs., 648 F.3d 1235, 1243 (11th Cir. 2011),
aff’d in part, rev’d in part sub nom. Nat’l Fed’n of
Indep. Bus. v. Sebelius, 567 U.S. 519 (2012) (“ The law
is abundantly clear that so long as at least one
plaintiff has standing to raise each claim--as is the
case here--we need not address whether the remaining
plaintiffs have standing.”) (collecting cases).     Dr.
Robinson’s standing under Craig moots the Attorney
General’s objections to the other plaintiffs’ standing
to assert third-party rights insofar as the parties all
seek the same relief.


                                29
their own rights.             See Powers v. Ohio, 499 U.S. 400,

411 (1991).5

       Turning   to     the        first   of   those      two   factors,

plaintiffs       must        ordinarily     establish       that     their

relationship     with        the   third   party   whose    rights      they

wish    to   assert     is    sufficiently      close   such     that    the

plaintiffs are “fully, or very nearly, as effective a

proponent of the right” as the third party would be.

Singleton v. Wulff, 428 U.S. 106, 115 (1976) (plurality

opinion).     To determine if a close relationship exists,




    5. The court takes up the parties’ arguments about
these prudential factors as an alternative ground for
its ruling on standing.     However, it bears emphasis
that the Craig rationale is sufficient to establish
standing to assert third-party rights.       When that
rationale applies, courts need not also consider
whether a plaintiff has sufficiently alleged a close
relationship with the third parties and a hindrance in
the third parties’ ability to assert their rights.
See, e.g., Craig, 429 U.S. at 195; June Med. Servs.
L.L.C. v. Russo, 591 U.S. 299, 318-19 (2020), abrogated
on other grounds by Dobbs, 597 U.S. 215; Triplett, 494
U.S. at 720; Carey v. Population Servs., Int’l, 431
U.S. 678, 683 (1977).


                                      30
a   court     asks    whether     the    plaintiffs     and   the    third

parties have “a strong identity of interests.”                      Region

8 Forest Serv. Timber Purchasers Council v. Alcock, 993

F.2d 800, 810 (11th Cir. 1993); see also Powers, 499

U.S.    400   at     413    (emphasizing      that    defendants     could

assert    the      third-party     rights     of     jurors   because    of

their       “common        interest      in        eliminating      racial

discrimination             from    the        courtroom”).6             The




     6. The Attorney General counters that a close
relationship   is  not  defined   by   an  identity   of
interests.     In his telling, only such intimate
relationships as those between parents and children,
and guardians and wards, are sufficiently ‘close’ to
satisfy the prudential factor.    However, the Attorney
General’s argument is controverted by the many cases in
which the Supreme Court recognized a litigant’s
standing to assert third-party rights despite the
relationship between the litigant and the third party
being quite unlike a parent-child relationship.     See,
e.g., Powers, 499 U.S. at 413.      Indeed, the Supreme
Court has even refused to let a parent assert a child’s
rights where “[i]n marked contrast to our case law on
jus tertii, the interests of this parent and this child
are not parallel and, indeed, are potentially in
conflict.” Elk Grove Unified Sch. Dist. v. Newdow, 542
U.S.   1,  15   (2004)  (internal   citation   omitted),
abrogated on other grounds by Lexmark, 572 U.S. 118.
(continued...)
                           31
close-relationship standard is generally satisfied if

the third parties’ rights are “inextricably bound up

with the activity the litigant[s] wish[] to pursue.”

Singleton, 428 U.S. at 114.

       Here, the clients’ right to travel is inextricably

bound up with the plaintiffs’ desire to assist them in

that     travel.       The   plaintiffs’    and   their   clients’

interests are essentially identical, as the plaintiffs

wish to provide services that their clients seek.             And,

because the plaintiffs face the threat of enforcement

should they resume facilitating out-of-state abortions,

they    have   every    incentive     to   litigate   their   claim

vigorously.

       The Attorney General insists that the plaintiffs

cannot     establish     a   close    relationship    with    their



Furthermore, the Attorney General bases his theory of
standing on dissenting Supreme Court opinions, which
are not binding authority and are at odds with the
precedent that stare decisis obligates this court to
apply.   See, e.g., AG’s Mot. Dismiss (Doc. 28) at 13
(drawing on a dissenting opinion in June Medical).

                                 32
clients due to a conflict of interest.7                His theory is

that   a   conflict    of    interest    will      exist    whenever       a

“regulated    party ... invoke[s]         the      right   of     a    third

party for the purpose of attacking legislation enacted

to protect the third party.”            AG’s Reply (Doc. 36) at 8

(quoting June Med. Servs. L.L.C. v. Russo, 591 U.S.

299, 378 (2020), abrogated on other grounds by Dobbs v.

Jackson    Women’s     Health    Org.,       597    U.S.    215       (2022)

(Alito, J., dissenting)).         The Attorney General derives

this   argument      from    a   dissenting        opinion      in      June

Medical,    where     the   statute     at    issue    regulated         the

credentials     that        physicians        needed       to     perform



    7. The Attorney General suggests that the existence
of a conflict of interest is a separate prudential
limitation, distinct from the closeness and hindrance
factors.      This   is   incorrect.       Because  the
close-relationship criterion is concerned with whether
the interests of the litigant and the third party are
sufficiently aligned, courts should necessarily already
weigh potential conflicts of interests as part of this
inquiry.     See, e.g., Harris, 20 F.3d at 1123
(explaining that the “relationship between a prison
inmate and the prison employees” was not sufficiently
close because of its “adversarial nature”).

                                 33
abortions.       The dissent reasoned that any entity faced

with a burdensome regulation has a financial interest

in    avoiding    compliance   at    the    expense     of    delivering

quality services to its clients, creating a potential

conflict.        Even if the court were bound by the June

Medical dissent’s conception of a conflict of interest,

it would not fit the facts of this case.                       Alabama’s

laws do not purport to make abortions safer or impose

any      compliance       measures         on     the        plaintiffs’

abortion-related         assistance        that   they        might     be

incentivized to avoid.         Rather, Alabama has completely

banned almost all abortions within its borders, and the

Attorney     General     intends      to    prevent      people       from

facilitating       any   out-of-state       abortions        whatsoever.

There is no conflict of interest between those who want

to get abortions outside Alabama and those who help

them do precisely that.8            Accordingly, the plaintiffs




    8. The Attorney General also argues that a conflict
(continued...)
                          34
have    sufficiently     pleaded     a   close     relationship      with

their clients.

       The plaintiffs also satisfy the second of the two

factors for standing to assert third-party rights: that

the    third   parties    be   hindered      in    their    ability    to

assert their own rights.             When third parties do not

assert their own rights, it might suggest that their

“right[s] [are] not truly at stake, or truly important

to [them].”       Singleton, 428 U.S. at 116.               However, if

“some genuine obstacle” hinders the third parties from

asserting      their   rights,   “the     party    who     is   in   court

becomes     by    default      the       right’s     best       available

proponent.”      Id.




of   interest   exists  insofar   as   the   plaintiffs’
assistance is a source of reputational and monetary
gain, including as a means for the plaintiffs to
solicit   donations.     But  the   Attorney   General’s
contentions about the plaintiffs’ ulterior motives are
at odds with the factual allegations in the complaints,
which cast the plaintiffs as purely mission-driven.
The court must assume the truth of those allegations.

                                   35
      The plaintiffs’ clients face multiple obstacles to

asserting    their     rights.        Most      significantly,         even    a

meritorious     lawsuit       is    unlikely       to    reach    a    merits

determination       until     after       the   window     to    obtain       an

abortion has passed.               The end of pregnancy may not

technically     moot    the    clients’         claim,    but    the    sheer

unlikelihood of obtaining personal relief before the

end   of   pregnancy    will       inevitably      deter    clients      from

filing their own suits.               Clients who are unlikely to

succeed    in   obtaining      an     abortion      through      litigation

have “little incentive to set in motion the arduous

process     needed     to     vindicate         [their]    own    rights.”

Powers, 499 U.S. at 415.

      Other obstacles abound.               For one, the plaintiffs’

clients may be deterred from bringing their own suits

by a desire to protect their privacy.                       Although the

Attorney General emphasizes that litigants who wish to

maintain    their    anonymity        can    sue   under    a    pseudonym,

such an argument was considered in Singleton and was


                                     36
made in the June Medical dissents, but it has yet to

carry the day.      Additionally, the plaintiffs serve many

low-income clients who lack the means to travel outside

Alabama without the plaintiffs’ assistance.                        The time

and expense of litigation may be too much for these

clients to bear.     See Powers, 499 U.S. at 414.

      The Attorney General argues that the plaintiffs’

clients   cannot    be   hindered       from     filing     suit    because

other pregnant plaintiffs in other actions have been

willing to assert similar rights regardless of these

obstacles.    That may be so, but the existence of a

hindrance turns on whether “some genuine obstacle” to

the   third-parties’       assertion        of      their    own     rights

exists, not whether that obstacle can theoretically be

or has been overcome.            Singleton, 428 U.S. at 116.              A

few   individuals    may    be    willing      to    brave   the     risks,

costs, and inconveniences of litigation, but that does

not negate the magnitude of those risks, costs, and

inconveniences      or     the     likelihood        that     they     will


                                   37
significantly          deter    others.          In     light      of    the

time-sensitive         nature   of    pregnancy,       as   well    as   the

clients’ privacy concerns and financial vulnerability,

the plaintiffs have sufficiently alleged a hindrance in

their clients’ ability to assert their own rights.

      The Attorney General offers one final objection to

the       plaintiffs’      standing     to    assert    their      clients’

rights that warrants discussion.                He observes that, in

Dobbs,       the     Supreme    Court      lamented     that    “abortion

cases ... have ignored the Court’s third-party standing

doctrine.”         597 U.S. at 286-87 & n.61.           From this stray

remark, as well as the Court’s citation in a footnote

to    a     series    of    cases     about    asserting       third-party

rights, the Attorney General proclaims that “[t]hose

majority opinions are thus no longer good law ... and

the opinions and dissents identified in Dobbs contour

third-party standing in the context of abortion-related

cases.”      AG’s Mot. Dismiss (Doc. 28) at 9-10.




                                      38
    The Attorney General misreads Dobbs insofar as he

suggests    that      the   Supreme      Court,    in     eight     words,

upended the law of standing.                   Dobbs was not a case

about standing, and it did not overrule any precedent

except where the Court explicitly said so.                     While the

Attorney General may wish that a great bulk of the

Court’s cases governing standing to assert third-party

rights were overruled and that dissenting opinions were

instead    binding     authority,       this    court   must   abide    by

precedent.9        Accordingly,     the    court    has    applied     the

traditional         prudential      standards       governing         when

litigants     may     assert     third-party      rights,      as    stare




    9. In addition to suggesting that the cases
governing standing to assert third-party rights of
people seeking abortions are bad law, the Attorney
General also argues that other cases, unrelated to
abortion, which support standing here, should be
overruled as well. See AG’s Reply (Doc. 36) at 10 n.6
(citing Craig, 429 U.S. 190 (1976); Powers, 499 U.S.
400; Eisenstadt v. Baird, 405 U.S. 438 (1972); and
Barrows, 346 U.S. 249).

                                   39
decisis     requires,          and     it    has     determined          that       the

plaintiffs have met those standards.

      In   sum,       the    Attorney        General       does       not    contest

Yellowhammer          Fund’s    standing       to    assert       the       right    to

travel on its own behalf, and the court finds that the

plaintiffs            also      have         standing           to      bring         a

right-to-travel claim on their clients’ behalf.



            2.    The Clients’ Right to Travel

      Because the plaintiffs all have standing to assert

a right-to-travel claim on behalf of their clients, the

court      now    turns      to      whether        the    claim        should       be

dismissed        on    the     merits.        The        claim       will    not     be

dismissed because (a) the right to travel includes the

right both to move physically between States and to do

what is lawful in those States, and (b) prosecuting

those who facilitate lawful out-of-state abortions, as

the   Attorney        General     threatens         to    do,     would      violate

that right.


                                        40
         a.   The Scope of the Right to Travel

       The central disagreement between the plaintiffs and

the Attorney General concerns the scope of the right to

travel.          As    the     Attorney         General       explains,        the

plaintiffs contend that “the constitutional right to

travel    encompasses         the    right         to   travel      and   to    do

whatever is legal in other states,” while the Attorney

General insists that “the right to interstate travel is

not that broad” and “only prevents States from erecting

‘actual barriers’ to interstate movement.”                         AG’s Motion

to     Dismiss    (Doc. 28)         at    34-35.          The      history     and

jurisprudence         of    the   right       to    travel      overwhelmingly

support the plaintiffs.

       The right to interstate travel is one of our most

fundamental       constitutional              rights.         It     cultivates

national citizenship and curbs state provincialism, and

thus was key to fusing a league of States into a true

federal union.             See United States v. Guest, 383 U.S.

745,     757-58       (1966);        id.       at       767     (Harlan,       J.,


                                         41
concurring).      Indeed, while the right to travel is not

enumerated in the Constitution, it is so essential to

the   structure     and   character      of   our    nation   that    the

Supreme Court has found the right manifested in several

constitutional provisions.              See id. at 757-59 (1966)

(noting that the Court has identified several sources

of the right).10

      The right to travel has deep historical roots, and

it has long encompassed more than the mere movement of

persons    across    borders.       Indeed,     as    the   court    will

explain,     travel       has    consistently        been     protected

precisely so that people would be free to engage in

lawful    conduct    while      traveling.      The    right    can    be




    10. The Supreme Court has derived the right to
travel from the Privileges and Immunities Clause of
Article IV, the Commerce Clause, the Privileges or
Immunities Clause of the Fourteenth Amendment, and the
Due Process Clauses of the Fifth and Fourteenth
Amendments. See Shapiro v. Thompson, 394 U.S. 618, 666
(1969) (Harlan, J., dissenting), overruled on other
grounds by Edelman v. Jordan, 415 U.S. 651 (1974);
Guest, 383 U.S. at 763-70 (Harlan, J., concurring).

                                   42
traced back at least as far as the Magna Carta, which

ensured that merchants could travel for the purpose of

engaging in commerce.         See Magna Carta (1215) cl. 41;

see also Kent v. Dulles, 357 U.S. 116, 125-26 (1958).

In the United States, the right was explicitly included

in Article IV of the Articles of Confederation, and it

similarly    guaranteed      that    citizens    “shall    have     free

ingress and regress to and from any other State, and

shall enjoy therein all the privileges of trade and

commerce, subject to the same duties, impositions and

restrictions as the inhabitants thereof.”                 Articles of

Confederation of 1781, art. IV, para. 1.                    Thus, in

addition    to   protecting     travel     for     the    purpose    of

commerce, it provided that those traveling would not be

subject to restrictions in other States beyond those

which are imposed on those States’ residents.

    While Article IV of the Constitution omitted the

express     reference   to     “free     ingress    and     regress,”

“Charles Pinckney, who drafted the current version of


                                    43
Art.    IV,    told     the       Convention         that    this       Article     was

‘formed exactly upon the principles of the 4th article

of the present Confederation.’”                      Zobel v. Williams, 457

U.S. 55, 79 (1982) (O’Connor J., concurring) (quoting 3

M. Farrand, Records of the Federal Convention of 1787,

p. 112 (1934)).              Considering Pinckney’s statement and

that    Art.    IV     of        the    Constitution             incorporated       its

predecessor’s broad guaranty that “the citizens of each

state     shall        be     entitled          to     all        privileges       and

immunities      of     citizens          in   the    several           states,”    U.S.

Const. art. IV, § 2, cl. 1, “[c]ommentators ... have

assumed that the Framers omitted the express guaranty

[of     the    right        to     travel]      merely           because      it   was

redundant.”          Zobel, 457 U.S. at 79-80.                           Indeed, the

Supreme       Court         has        repeatedly      observed             that    the

Constitution          did        not     include       the        right-to-travel

language because the right was “so elementary [that it]

was    conceived       from       the     beginning         to    be    a   necessary

concomitant       of    the        stronger         Union        the    Constitution


                                           44
created.”         Shapiro    v.    Thompson,       394    U.S.      618,    631

(1969),     overruled       on    other     grounds       by   Edelman      v.

Jordan, 415 U.S. 651 (1974).

       Considering the right to travel in the context of

Article IV’s Privileges and Immunities Clause confirms

that     the    right    includes        both     the    right      to     move

physically between the States and to do what is legal

in the destination State.                 The Clause was meant to

create      a     “general        citizenship,”           3    J.        Story,

Commentaries on the Constitution of the United States,

3:674-75,       § 1800   (1833),    and     “place       the   citizens      of

each State upon the same footing with citizens of other

States.”        Paul v. Virginia, 75 U.S. 168, 180 (1868),

overruled in part on other grounds by United States v.

Se.    Underwriters      Ass’n,    322     U.S.    533    (1944).          When

individuals do travel into another State, the Clause

ensures that they lose both “the peculiar privileges

conferred by their [home State’s] laws” as well as “the

disabilities of alienage.”            Id.       The Clause “insures to


                                    45
[citizens] in other States the same freedom possessed

by the citizens of those States in the acquisition and

enjoyment of property and in the pursuit of happiness.”

Id. at 180-81.               These goals are incompatible with a

right to travel that would allow one’s home State to

inhibit a traveler’s liberty to enjoy the opportunities

lawfully available in another State.

       Accordingly,          one    of        the   first    notable    judicial

recognitions of the right to travel included in its

list    of   privileges            and    immunities        the    “right     of    a

citizen of one state to pass through, or to reside in

any other state, for purposes of trade, agriculture,

professional       pursuits,             or    otherwise.”          Corfield       v.

Coryell,     6    F.     Cas.       546,        552   (C.C.E.D.       Pa.     1823)

(Washington,           J.,     on        circuit)         (emphasis         added).

Similarly,       the    Supreme          Court      has   explained    that       the

Privileges        and         Immunities            Clause        “plainly        and

unmistakably       secures          and        protects     the    right     of    a

citizen of one State to pass into any other State of


                                          46
the     Union    for     the    purpose       of     engaging       in   lawful

commerce,       trade,     or     business         without    molestation.”

Ward v. State, 79 U.S. 418, 430 (1870); accord Toomer

v. Witsell, 334 U.S. 385 (1948).

      Based on this understanding of the Privileges and

Immunities       Clause,       the    Supreme       Court    has    recognized

that the right to travel “protect[s] persons who enter

Georgia seeking the medical services that are available

there,” including abortion.                   Doe v. Bolton, 410 U.S.

179, 200 (1973), abrogated in part on other grounds by

Dobbs    v.     Jackson    Women’s         Health    Org.,    597    U.S.    215

(2022);11 accord Memorial Hospital v. Maricopa County,

415     U.S.     250     (1974)       (holding       that     a     durational

residency       requirement          for   state-funded       medical       care




    11. Because this holding did not                         depend on       the
constitutionally protected status of                         abortion,       the
Dobbs decision did not undermine it.


                                       47
generally violated the right to travel).12      Consistent

with this holding, though not necessarily rooted in the

Privileges and Immunities Clause, the Court in Bigelow

v. Virginia emphasized that “[t]he Virginia Legislature

could   not   have ... prevent[ed]   its   residents   from




     12. The Attorney General suggests that these cases
are inapposite because they concerned States treating
visitors differently from residents, not burdens on
travel imposed by the States of origin.     While it is
true that previous right-to-travel cases have generally
concerned States that discriminated against visitors
from    other   States,  this   merely    reflects   the
unprecedented nature of the Attorney General’s actions
in seeking to prevent residents of his own State from
engaging in lawful conduct in other States.      Neither
the text nor purpose of the Privileges and Immunities
Clause suggests that its protections depend upon
whether the State imposing travel restrictions is the
State of one’s origin or destination.        The Clause
provides broadly that “[t]he Citizens of each State
shall be entitled to all Privileges and Immunities of
Citizens in the several States.” U.S. Const. art. IV,
§ 2, cl. 1, and it serves to ensure that residents may
travel to other States “on the same footing with
citizens of [those] States” and without facing “the
disabilities of alienage.”   Paul, 75 U.S. at 180.    It
follows that the Privileges and Immunities Clause and
the right to travel are implicated when any State
prohibits residents of one State from enjoying the
benefits lawfully available in another State.

                            48
traveling   to   New    York   to    obtain   [abortion]   services

or ... prosecute them for going there.”             421 U.S. 809,

822-24 (1975).13       And, most recently, Justice Kavanaugh

explained in his Dobbs concurrence that the question

whether a State may “bar a resident of that State from

traveling to another State to obtain an abortion” was

“not especially difficult as a constitutional matter”

because “the constitutional right to interstate travel”

would prohibit such state action.             Dobbs, 597 U.S. at

346.




    13. The plaintiffs invoke other language from the
Bigelow opinion in their complaints and in their briefs
in opposition. According to the Attorney General, that
language is dicta and may not be good law insofar as it
assumed   the   constitutionally   protected status   of
abortions.    The court does not address the Attorney
General’s concerns because it concludes that the
plaintiffs have adequately pleaded right-to-travel and
free-speech     claims     regardless     of   Bigelow’s
applicability.    In their future filings, the parties
are advised not to dwell on Bigelow’s viability, which,
as the court has demonstrated, is not dispositive of
whether the plaintiffs may prevail on their claims.

                                    49
       As    the     discussion        above          demonstrates,         the

Constitution protects the right to cross state lines

and engage in lawful conduct in other States, including

receiving      an     abortion.            The       Attorney       General’s

characterization of the right to travel as merely a

right to move physically between the States contravenes

history,      precedent,      and     common         sense.        Travel    is

valuable     precisely       because       it    allows       us    to   pursue

opportunities available elsewhere.                    “If our bodies can

move among states, but our freedom of action is tied to

our place of origin, then the ‘right to travel’ becomes

a hollow shell.”            Seth F. Kreimer, Lines in the Sand:

The Importance of Borders in American Federalism, 150

U. Pa. L. Rev. 973, 1007 (2002).                     Indeed, the Attorney

General’s theory of the right to travel, which would

allow each State to force its residents to carry its

laws    on   their    backs     as    they      travel,       “amount[s]     to

nothing      more    than    the     right      to    have    the    physical

environment of the states of one’s choosing pass before


                                      50
one’s eyes.”          Laurence H. Tribe, Saenz Sans Prophecy:

Does the Privileges or Immunities Revival Portend the

Future—or       Reveal    the     Structure      of     the    Present?,      113

Harv. L. Rev. 110, 152 (1999).                        Such a constrained

conception       of    the     right     to    travel      would    erode     the

privileges of national citizenship and is inconsistent

with Constitution.


         b.     The Plaintiffs’ Right-to-Travel Challenge

       Having     established           that    the     right       to   travel

protects      both     entering     other      States      and     engaging    in

conduct that is lawful there, the question whether the

Attorney        General’s         threatened          prosecutions        would

violate that right is easily resolved.                        Of course, if a

State cannot outright prohibit the plaintiffs’ clients

from     traveling           to    receive        lawful         out-of-state

abortions, it cannot accomplish the same end indirectly

by prosecuting those who assist them.                         The threatened

prosecutions          offend      two    tenets       of      right-to-travel

jurisprudence: first, that States may not act with the

                                        51
purpose of impeding lawful travel; and, second, that

States may not outlaw assistance for otherwise lawful

travel.         Here,   the    threatened            prosecutions       would   do

both.     The court addresses each of these principles in

turn.

       First,      the         Attorney             General’s         threatened

prosecutions are intended to deter and prevent people

from     traveling       out-of-state               to     receive     a   lawful

abortion.        Government action that has “impeding travel

[as    its]     primary       objective”           violates     the    right    to

travel.       Att’y Gen. of New York v. Soto-Lopez, 476 U.S.

898, 903 (1986); see also Saenz v. Roe, 526 U.S. 489,

499     n.11      (1999)           (“If        a     law      has     no   other

purpose ... than              to      chill           the      assertion        of

constitutional rights by penalizing those who choose to

exercise them, then it is patently unconstitutional.”

(internal        quotation          marks          omitted));        Edwards    v.

California, 314 U.S. 160, 174 (1941) (striking down a

law    which     had    the    “express            purpose”    of    prohibiting


                                          52
indigents from entering California).            As the court has

already    explained,     the    right   to   travel    necessarily

protects the right to cross state lines and engage in

lawful conduct in the destination State.                 Therefore,

state     restrictions    with     the    primary     objective   of

preventing    specific    lawful       out-of-state    conduct    are

just as constitutionally impermissible as restrictions

aimed at preventing travel generally.

       The Attorney General insists that the intent behind

his prosecutorial threats is to prevent the plaintiffs

from    facilitating     their    clients’    “visits”    to   “more

permissive jurisdictions” for abortions.               Yellowhammer

Fund’s Compl. (Doc. 1) ¶ 21; AG’s Reply (Doc. 36) at

46.     In doing so, he thus concedes that his primary

purpose in enforcing the law is to chill and penalize

the plaintiffs’ clients’ assertion of their right to

travel.

       Second, in addition to relying on an impermissible

purpose, the Attorney General’s threatened enforcement


                                  53
would     actually     have   an     unconstitutional      effect    on

travel.        Supreme    Court    precedent     demonstrates    that,

when a State creates barriers to travel itself, “the

constitutional right of interstate travel is virtually

unqualified,” Haig v. Agee, 453 U.S. 280, 307 (1981),

and even the slightest burdens on travel are generally

not tolerated.           For this reason, travel restrictions

directed toward those who facilitate travel for others

can offend the Constitution.             Exemplifying both points

is   Crandall     v.     Nevada,   which      produced    the   Supreme

Court’s first majority opinion on the right to travel.

73 U.S. 35 (1867).          At issue was a Nevada statute that

imposed    a    one-dollar     tax      per   passenger    on    common

carriers leaving the State.              The Court held that the

tax was an unconstitutional burden on the passengers’

right to travel, even though the tax was merely one

dollar and even though it applied only when someone

relied on a common carrier for transportation.




                                   54
     Likewise,      in   Edwards   v.   California,   the   Supreme

Court struck down a California law that made it a crime

to   bring   or    assist    in   bringing   into   the   State    any

indigent person who was not a California resident.                 314

U.S. 160 (1941).           Thus, the California law subjected

only those who assisted others in travel to criminal

liability.        The Court nonetheless determined that the

law violated indigent people’s right to travel.              It did

so even despite recognizing that the State had passed

the law to address “grave and perplexing social and

economic” issues.           Id. at 173.      The Court held that

regardless of “‘the wisdom, need, or appropriateness’

of the legislative efforts of the States to solve such

difficulties,”       the     Constitution     prohibited    such    a

burden on facilitating travel.              Id. (quoting Olsen v.

Nebraska ex rel. W. Reference & Bond Ass’n, 313 U.S.

236, 246 (1941)).

     Here, a straightforward application of Crandall and

Edwards resolves the right-to-travel claim brought on


                                   55
behalf of the plaintiffs’ clients.                       Denying--through

criminal    prosecution--assistance               to     the   plaintiffs’

clients, many of whom are financially vulnerable, is a

greater burden on travel than the one-dollar tax per

passenger in Crandall, and it is precisely what was

held unconstitutional in Edwards.                 The Attorney General

argues that Crandall and Edwards are distinguishable

because the travel restrictions at issue in those cases

operated categorically, regardless of the reasons for

which people were traveling.              Again, however, the right

to travel includes the right to do what is lawful in

another    State    while    traveling,       so       restrictions   that

prohibit travel for specific out-of-state conduct are

unconstitutional      just    as     those        that     impede   travel

generally are.      There is no end-run around the right to

travel     that    would    allow        States    to     burden    travel

selectively and in a patchwork fashion based on whether

they approve or disapprove of lawful conduct that their

residents wish to engage in outside their borders.


                                    56
      The    Attorney       General’s        attempt       to        distinguish

Edwards     and     Crandall     is       even    less     persuasive         when

considering the cases that he believes should govern

the    court’s           analysis.           He        relies        mostly     on

out-of-circuit cases that bear little resemblance to

the facts of this case to argue that using Alabama

criminal     law    to     prevent     people      seeking       out-of-state

abortions         from     receiving        assistance          is     a     “mere

inconvenience”            that   does            not     warrant           serious

constitutional scrutiny.               AG’s Reply (Doc. 36) at 45.

These cases concerned challenges to notification and

registration requirements for sex offenders, see Doe v.

Moore, 410 F.3d 1337, 1348-49 (11th Cir. 2005); United

States      v.    Simington,     No.      EP-10-cr-2275-KC,             2011    WL

145326,      at    *9-10     (W.D.        Tex.     2011)    (Cardone,          J.)

(unpublished         opinion);        a     requirement          to        present

identification at an airport or be subjected to a more

extensive search, Gilmore v. Gonzales, 435 F.3d 1125,

1136-37 (9th Cir. 2006); and federal restrictions placed


                                       57
on an airport that required that those seeking to

fly to certain other States either use a connecting

flight or use another airport twelve miles away for

direct   flights,      Cramer       v.   Skinner,       931    F.2d   1020,

1031-33 (5th Cir. 1991).

     These cases are quite unlike the one before the

court.   They generally involved travel regulations for

individuals    who    had    previously         committed      a   crime    or

regulations meant to facilitate travel that were deemed

to   result   in     minor    delays       or    inconveniences.            In

contrast,     the     Attorney       General       is    attempting         to

prohibit, in practice, all abortion-related travel that

would require assistance from others.                   This is no ‘mere

inconvenience,’ especially considering that many of the

plaintiffs’    clients       lack    the    financial         resources    to

travel   on   their    own.         Furthermore,        considering        the

complexity    associated       with      finding,       evaluating,        and

arranging for medical care in another State, it would

be difficult for anyone to do so without assistance.


                                    58
       In sum, the plaintiffs have sufficiently alleged

that     the    Attorney    General’s    threatened     enforcement

would    violate    their   clients’     right   to   travel.      The

motion to dismiss the right-to-travel claim asserted on

the plaintiffs’ clients’ behalf will be denied.



           3.    Yellowhammer Fund’s Right to Travel

       Finally, Yellowhammer Fund brings a right-to-travel

claim on its own behalf.          In its complaint, the Fund

represents that it “previously traveled, and desires to

once again travel, between states with passengers in

its vehicles who need transportation to other states to

obtain    lawful    abortion    care.”      Yellowhammer        Fund’s

Compl. (Doc. 1) ¶ 89.        The Attorney General argues that

the right to travel belongs only to “a flesh and blood,

physical citizen,” and not to organizations such as the

Fund. AG’s Mot. Dismiss (Doc. 28) at 32.               The Fund, of

course, disagrees.




                                 59
    The     Supreme        Court    has       provided      very     limited

guidance as to when, in general, a constitutional right

can be enjoyed by a corporation or is instead purely

personal    in     nature.         Indeed,      the    “only      analytical

framework that exists” comes from a footnote in First

National    Bank     of    Boston       v.    Bellotti,     435    U.S.    765

(1978).14       Darrell A. H. Miller, Guns, Inc.: Citizens

United,     McDonald,        and        the    Future       of     Corporate

Constitutional       Rights,       86     N.Y.U.      L.   Rev.    887,    908

(2011).         However,    this    footnote       does    not    provide    a

clear     and     standardized       test      for     determining        such




    14. The footnote reads in relevant part: “Certain
‘purely personal’ guarantees, such as the privilege
against compulsory self-incrimination, are unavailable
to corporations and other organizations because the
‘historic function’ of the particular guarantee has
been limited to the protection of individuals. Whether
or not a particular guarantee is ‘purely personal’ or
is unavailable to corporations for some other reason
depends on the nature, history, and purpose of the
particular constitutional provision.”     Bellotti, 435
U.S. at 778 n.14 (internal citation omitted).

                                     60
significant    legal    questions,       and   courts     have     only

rarely used it to do so.          See id. at 909-14.

    Because determining whether, and to what extent,

the right to travel protects an organization carries

potentially weighty implications, and because the court

would have very limited legal authority to guide its

analysis, the court will reserve judgment on the issue.

There are multiple other claims which may resolve this

case such that the court need not ever reach this novel

question.



                     B. The Freedom of Speech

    In   addition      to   the    right-to-travel        claim,    the

plaintiffs    contend       that       enforcing    the      Attorney

General’s reading of Alabama’s criminal laws, including

those    punishing      inchoate       offenses     and     codifying

accomplice    liability,     would      violate    the    freedom    of




                                  61
speech under the First and Fourteenth Amendments.15                The

plaintiffs    all     raise    an      as-applied        challenge,

contending     that    the     Attorney        General       cannot

constitutionally      prosecute       people      for     providing

information, counseling, and material support to their

clients.16      Yellowhammer        Fund   also    asserts        that

Alabama’s    interjurisdictional       conspiracy       statute     is



    15. Yellowhammer Fund makes two other First
Amendment arguments: first, that its abortion-related
services involve constitutionally protected expressive
conduct; and, second, that the Attorney General’s
threatened enforcement would also violate the freedom
of association. The Attorney General does not address
these arguments directly.   Instead, he observes that
they are moot if the plaintiffs’ free-speech challenge
fails, as he insists it should.     Because the court
rejects the Attorney General’s argument that the
free-speech claim should be dismissed, the court will
reserve consideration of the Fund’s other First
Amendment arguments.

    16. This is an as-applied challenge because with
it, the plaintiffs do not ask the court to declare the
various general criminal statutes that the Attorney
General seeks to enforce to be unconstitutional in
whole. Rather, the plaintiffs argue that the statutes
are unconstitutional only insofar as they would
prohibit people from providing assistance to others
seeking abortions in a State where abortion is lawful.

                               62
overbroad and therefore facially invalid insofar as it

authorizes the Attorney General to act on his threats.

The Fund brings its First Amendment challenge on its

own      behalf,         while         the     plaintiff         healthcare

providers--West        Alabama,        Alabama      Women’s    Center,     and

Dr. Robinson--bring their claim on behalf of themselves

and their staff.

       The    Attorney      General        makes    three     arguments     in

support of his motion to dismiss the First Amendment

challenge:       first,        that      the       plaintiff     healthcare

providers lack standing to assert the rights of their

staff;       second,    that     the    plaintiffs’         speech   can    be

constitutionally regulated because it furthers conduct

that    Alabama       has   deemed      criminal;      and     third,     that

Yellowhammer       Fund        has      not    pleaded        any    factual

contentions      to    support       its     overbreadth       claim.      The

court concludes that the plaintiffs all have standing

and     that    the      factual       contentions       underlying        the

as-applied challenge, if proven, amount to a violation


                                       63
of the freedom of speech.              The Fund’s overbreadth claim

will be dismissed.



         1.       Standing

    The court first takes up the Attorney General’s

argument that West Alabama, Alabama Women’s Center, and

Dr. Robinson do not satisfy the prudential requirements

to bring a First Amendment claim on behalf of their

staff.      The    Attorney      General       does    not    dispute   that

Yellowhammer      Fund     and   the      healthcare     providers      each

have Article III standing to assert their own First

Amendment     rights.         Only     the      healthcare      providers’

standing to assert the rights of their staff is at

issue.

    As a threshold matter, it is immaterial whether

Alabama Women’s Center has standing to bring a First

Amendment     claim   on     behalf       of   its    staff   because    Dr.

Robinson is a member of its staff with “standing to

assert these rights as [her] own.”                    Vill. of Arlington


                                     64
Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264

(1977).        In    Arlington      Heights,    the   Supreme      Court

explained that it did not need to determine whether a

real-estate company could bring claims on behalf of its

prospective tenants because one of those tenants was a

party to the suit with Article III standing.                 429 U.S.

at   263-64.        That   tenant    wished    to   assert   the    same

rights that the real-estate company sought to vindicate

on the third-party tenants’ behalf, making any inquiry

into whether the real-estate company had standing to

bring claims asserting third-party rights unnecessary.

The same logic applies here.               Alabama Women’s Center

seeks to assert the rights of its staff, and one of

those staff members, Dr. Robinson, is a party to the

suit who has Article III standing and who is asserting

those same rights herself.               Under Arlington Heights,

Dr. Robinson’s presence in this suit relieves the court

from having to determine whether Alabama Women’s Center

has standing to assert its staff members’ rights.


                                    65
       In any event, the plaintiff healthcare providers

each readily satisfy the prudential requirements for

standing: they have demonstrated a close relationship

with    their     staff     and   a   hindrance         in     their       staff’s

ability to assert their own free-speech rights.                                See

Kowalski v. Tesmer, 543 U.S. 125, 130 (2004).

       As to closeness, “[e]mployers have been allowed to

assert the rights of employees in circumstances that at

least suggest a congruence rather than a conflict of

interests.”         13A     Charles        Alan      Wright    &    Arthur     R.

Miller, Federal Practice and Procedure § 3531.9.3 (3d

ed. 2023 update).           The complaint reflects an alignment

of interests between the plaintiff healthcare providers

and     their     staff     sufficient          to     establish       a     close

relationship.         The    staff     members         wish    to   carry      out

their     employers’        mission        to        provide    information,

counseling,        and      support        to        individuals           seeking

out-of-state abortions.           The staff members “are trained

and    feel     ethically    obligated”         to     help    their       clients


                                      66
access      out-of-state         abortions         but,       like         their

employers, cannot do so for fear of prosecution.                            West

Alabama     et    al.’s    Compl.     (Doc. 23)          ¶¶ 79-80.           The

interests here are plenty aligned to constitute a close

relationship.

       The Attorney General responds by suggesting that

the     Eleventh      Circuit     has      declined        to     recognize

employers’ standing to raise their employees’ rights

“[a]s a matter of law.”           AG’s Mot. Dismiss (Doc. 28) at

15.     He invokes language from Region 8 Forest Service

Timber    Purchasers      Council     v.    Alcock       that    “a    strong

identity         of      interests ... is              absent         in      an

employer/employee         relationship.”           993    F.2d    800,       810

(11th Cir. 1993).         However, Region 8 did not lay down a

categorical       rule    that   employers        could       never    assert

their     employees’       rights.          The        Eleventh       Circuit

qualified    its      language   in      Region    8    and     limited      its

holding to the facts of that case.                      See id. (holding

only     that     “in     this    case       the       employee/employer


                                    67
relationship is not such that the employer would be

nearly    as    effective          a    proponent          as    the   employees”

(emphasis added)).

       West    Alabama,       Alabama            Women’s    Center,     and    Dr.

Robinson      allege    a    much       more      compelling       congruity    of

interests with their staff than the Eleventh Circuit

considered      in     Region          8.         There,    timber      companies

challenging a regulation protecting woodpeckers claimed

they satisfied the prudential requirements for standing

because       their    employees            had     an     “interest     in    the

outdoors.”      Id. at 809.             The Eleventh Circuit concluded

that    the    employees’       purported           recreational       interests

did not make their employer “as effective a proponent”

of their rights as they would be.                          Id.     By contrast,

the staff members here could face prosecution for the

very work they were hired to do and still wish to do.

Unlike in Region 8, the plaintiff healthcare providers

and    their    staff       have       materially        identical     interests

that the threatened prosecutions would equally imperil.


                                            68
Region 8 poses no bar to asserting third-party rights

in this case, and in contrast to the plaintiffs there,

West Alabama, Alabama Women’s Center, and Dr. Robinson

have adequately pleaded a close relationship with their

staff.

      The   factual   contentions        in    the     complaint       also

demonstrate that the staff members face a hindrance to

asserting    their    own    First      Amendment       rights.         Dr.

Robinson contends that she was previously subject to

retaliatory prosecution for providing abortion-related

services, which left her in a state of financial and

professional      instability,          as     well     as    emotional

disarray.      According     to   the    complaint,       many    of    the

plaintiff healthcare providers’ staff members are the

sole earners for their households and cannot afford the

financial    expense,     reputational         harm,    and   emotional

turmoil that a criminal prosecution would entail.                       The

staff members could justifiably see what happened to

Dr.   Robinson,   their     colleague,        as   a   cautionary      tale


                                  69
that declaring their commitment to abortion services in

a   lawsuit      could     subject     them     to    the      “violence,

harassment,      and     hostility”    that     have     long     plagued

abortion providers in Alabama.            Planned Parenthood Se.,

Inc. v. Strange, 33 F. Supp. 3d 1330, 1333–34 (M.D.

Ala. 2014) (Thompson, J.).

    The Attorney General responds with two arguments:

first,    that     Dr.    Robinson’s      participation         in   this

lawsuit undermines the plaintiff healthcare providers’

representation         that   their     staff        members     face   a

hindrance     to    asserting     their       own    First      Amendment

rights; and, second, that any staff members concerned

about retaliation can sue under pseudonyms.                       Neither

point succeeds.          Prudential standing doctrine requires

only that there be “some genuine obstacle” to a third

party’s   bringing       suit,   not   that     doing    so     would   be

borderline impossible.           Singleton v. Wulff, 428 U.S.

106, 116-18 (1976) (plurality opinion).                 Dr. Robinson’s

involvement in this litigation does not detract from


                                  70
the risks of retaliation that her staff and colleagues

may not be willing to brave.                  Nor, for the reasons

discussed        previously,       does     the      availability           of

pseudonyms       call   the   existence       of    a     hindrance       into

question.

      In sum, the factual contentions in the plaintiff

healthcare       providers’       complaint        would,       if    proven,

satisfy    the    prudential      requirements          to    assert     their

staff’s First Amendment rights.              The court now turns to

the    merits     of    the    plaintiffs’         free-speech         claim,

beginning with the as-applied challenge before taking

up    Yellowhammer       Fund’s    facial        challenge       under     the

overbreadth doctrine.



           2.    The Free-Speech Challenge

      Relying     on    the   First      Amendment,       the    plaintiffs

contend that the Attorney General cannot prosecute or

threaten    to    prosecute       those    who     help      others    obtain

lawful out-of-state abortions for inchoate crimes, such


                                    71
as   conspiracy    and   solicitation,      as   accomplices,   or

otherwise.17      They submit that Alabama’s criminal laws

cannot authorize the Attorney General to act on his

threats    without        creating     an        unconstitutional

content-based      restriction   on   speech,18    at   least   as

applied to the speech they and their staff wish to

engage in:19 informing their clients about the laws of




    17. The Attorney General’s briefs focus almost
exclusively on conspiracy law.   He notes that “[t]he
legal issues presented by this case ... do not change
based on the particular State statute at issue.” AG’s
Mot. Dismiss (Doc. 28) at 2 n.1.

    18. The plaintiffs also argue that the Attorney
General’s threatened enforcement of Alabama law would
unconstitutionally discriminate against speech based on
the speaker’s viewpoint.   See Rosenberger v. Rector &
Visitors of Univ. of Va., 515 U.S. 819, 829 (1995)
(defining viewpoint discrimination).       Because, as
discussed below, the Attorney General concedes that the
statutes at issue discriminate against speech based on
content, the court does not address whether they also
discriminate based on viewpoint.

    19. The court refers to ‘the plaintiffs and their
staff’ for readability, but the reader is reminded that
only the three healthcare providers--West Alabama,
Alabama Women’s Center, and Dr. Robinson--assert a
(continued...)
                           72
other     States,    offering         counseling      services    about

treatment       options    outside       Alabama,      and     providing

material support to clients seeking abortions in States

where they are lawful.

       “[A]s a general matter, ‘the First Amendment means

that    government   has    no   power      to   restrict     expression

because of its message, its ideas, its subject matter,

or its content.’”         Ashcroft v. American Civil Liberties

Union,    535     U.S.    564,    573       (2002)    (alteration     in

original)    (quoting      Bolger      v.    Youngs    Drug     Products

Corp.,    463     U.S.    60,    65     (1983)).        Content-based

restrictions on speech are ordinarily subject to strict

scrutiny.       See Reed v. Town of Gilbert, 576 U.S. 155,

163-64 (2015).       A law is content-based if it “applies

to particular speech because of the topic discussed or

the idea or message expressed.”              Id. at 163.




First   Amendment  claim  on  their   staff’s  behalf.
Yellowhammer Fund brings its First Amendment challenge
on its own behalf only.

                                  73
    There    are    a    few       “narrowly    limited   classes     of

speech” that the government may regulate without having

to satisfy strict scrutiny.               United States v. Stevens,

559 U.S. 460, 468-69 (2010) (quoting Chaplinsky v. New

Hampshire,    315       U.S.    568,      571-72   (1942)).     These

categories     include         obscenity,       defamation,    fraud,

incitement, and, most relevant here, speech integral to

unlawful conduct.         See Stevens, 315 U.S. at 469.              The

Supreme     Court    has       described       these   categories     as

“historic and traditional” because regulations of the

speech they encompass “have never been thought to raise

any Constitutional problem.”                Id. at 468-49 (quoting

Chaplinsky, 559 U.S. at 571-72).

    The Attorney General contends that insofar as the

Alabama statutes at issue regulate speech, they reach

only speech integral to unlawful conduct and need not

satisfy strict scrutiny.               He concedes that Alabama’s

criminal    laws    impose     a    content-based      restriction    on

speech.     “[T]he content of [the] speech,” he explains,


                                     74
is what “causes a crime.”              AG’s Mot. Dismiss (Doc. 28)

at 26 (alteration in original) (quoting United States

v. Fleury, 20 F.4th 1353, 1364-65 (11th Cir. 2021)).

He    does   not     dispute    that    providing     abortion-related

services would require the plaintiffs and their staff

to engage in speech, either in the form of pure speech

or expressive conduct, or that his threats have chilled

that speech.          Nonetheless, in his view, the Alabama

statutes are exempt from strict scrutiny “because the

First Amendment does not protect criminal activity.”

AG’s Mot. Dismiss (Doc. 28) at 24.

      The    exception     to     strict      scrutiny         for    speech

integral     to    unlawful     conduct    comes     from      Giboney       v.

Empire Storage & Ice Co., 336 U.S. 490 (1949).                        There,

the    Supreme     Court   observed      “that     the   constitutional

freedom for speech ... [does not] extend[] its immunity

to    speech   or     writing    used    as   an    integral         part    of

conduct in violation of a valid criminal statute.”                          Id.

at    498.     The    Attorney    General     casts      his    motion       to


                                   75
dismiss as a straightforward application of Giboney:

Alabama    law        prohibits       most   abortions         within    its

borders,     and      so      any   agreement,        encouragement,     or

assistance       to      do    what    Alabama        has     outlawed   is

criminally       actionable,          even       if     the     agreement,

encouragement, or assistance occurs through speech.

    Simple as this argument seems, it ignores the issue

at the heart of this case: that the plaintiffs and

their staff wish to help their clients access abortions

in States where abortions are lawful.                         The Attorney

General    has     not     identified      any   instance      of   Giboney

being held to authorize a prosecution for steps taken

inside one State toward an act that would be permitted,

or even legally protected, in another.                        The question

the court must confront is whether Giboney’s exception

to strict scrutiny for content-based restrictions on

speech can accommodate these novel circumstances.

    It     bears      repeating       that   Giboney        represents     a

“narrowly limited” exception to the general rule that


                                      76
content-based      restrictions    on     speech     must     satisfy

strict scrutiny.      Stevens, 559 U.S. at 468-69 (quoting

Chaplinsky, 315 U.S. at 571-72); see also United States

v. Alvarez, 567 U.S. 709, 717-18 (2012); United States

v. Williams, 553 U.S. 285, 288 (2008).              The categories

of regulation exempt from strict scrutiny are narrow

largely because even speech related to unlawful conduct

can have constitutional value, including the potential

to inform, critique, entertain, and otherwise enrich

the “interchange of ideas.”         Dennis v. United States,

341 U.S. 494, 549 (1951) (Frankfurter, J., concurring

in     the    judgment);     see        also      Eugene      Volokh,

Crime-Facilitating Speech, 57 Stan. L. Rev. 1095, 1111

(2005).

      Against this backdrop, the Attorney General urges

the   court   to    extend   Giboney’s         immunity     into   new

terrain: efforts to perform acts that would be unlawful

in the State where they are planned but lawful (and

potentially    even   constitutionally         protected)     in   the


                              77
State where they would occur.             The court cannot accept

the   Attorney         General’s   expansive      interpretation      of

Giboney, which would have dangerous consequences for

the freedom of expression.

      The    Attorney     General’s     reading   of   Giboney   would

enable      him   to    regulate   conduct      that   he    lacks   the

authority to prosecute directly by burdening speech.

Alabama’s criminal jurisdiction does not reach beyond

its borders, and it cannot pass a statute explicitly

punishing what its residents do in another State: “[A]n

act done within the territorial limits of [one state],

under authority and license from that state, ... cannot

be    prosecuted        and   punished     by     [another    state].”

Nielsen v. Oregon, 212 U.S. 315, 321 (1909).                 Unable to

proscribe out-of-state abortions, the Attorney General

interprets state law as punishing the speech necessary

to obtain them.          Giboney, however, is intended only to

recognize a narrow and well-established class of speech

that governments have historically regulated, not as a


                                   78
tool    to    reach       regulatory       ends    that    the    Constitution

otherwise prohibits governments from realizing.                                 See

Stevens, 559 U.S. at 468-69.

       For the Giboney exception to have tractable limits,

the    speech       at    issue     must    bear    some    relation       to    an

independently            unlawful     course       of   conduct.         Giboney

“can’t justify treating speech as ‘integral to illegal

conduct’ simply because the speech is illegal under the

law    that    is    being    challenged.”              Eugene    Volokh,       The

“Speech Integral to Criminal Conduct” Exception, 101

Cornell L. Rev. 981, 987-88 (2016).                         In other words,

the speech being proscribed must be “causally linked to

a   particular           crime,   a   crime        that    does    not   itself

consist of otherwise protected speech.”                           Id. at 1000.

Were the doctrine otherwise, any criminally prohibited

speech would be integral to unlawful conduct, and any

statute       punishing      that     speech       would    be    immune    from

strict scrutiny.             Indeed, that is the very logic the

Attorney General advances here.                     He contends that the


                                       79
Alabama       statutes    can     withstand      the     plaintiffs’

as-applied challenge because the speech they and their

staff wish to engage in would be integral to unlawful

conduct, but their speech would be integral to unlawful

conduct       only   because      the    Alabama       statutes,    as

interpreted by the Attorney General, make their speech

unlawful.       Such circular reasoning quickly spins out of

control.

       Put another way, the Attorney General’s reading of

Giboney would render meaningless the requirement that

the    speech    being   regulated      be   integral   to   unlawful

conduct.      Without a separate course of unlawful conduct

that    the   plaintiffs’   and    their     staff’s    speech   would

further, the only ‘conduct’ that could be the basis of

the Attorney General’s threatened prosecutions would be

speech that Alabama regards as politically unpopular

and morally disfavored.           The First Amendment does not

tolerate that result, as the freedom of speech is meant

to prevent the government from “suppress[ing] unpopular


                                  80
ideas or information.”                   Turner Broad. Sys., Inc. v.

F.C.C., 512 U.S. 622, 641 (1994).                        Giboney therefore

cannot     exempt         the     Attorney         General’s        threatened

enforcement         of     the        Alabama     statutes        from     strict

scrutiny.

       The Attorney General protests that at least two

federal    statutes         punish      conspiracies         to   commit       acts

that     are    not       unlawful        insofar       as   they        are     not

separately     codified          as    crimes,    and    courts     have        long

assumed    that      both    statutes         fall     within     the     Giboney

exception      to        strict       scrutiny.         According         to     the

Attorney General, if those statutes are constitutional,

he can likewise prosecute speech integral to conduct

that is not independently illegal.                       The first statute

the    Attorney       General         invokes     is    Section     1     of     the

Sherman Act, which bars any “contract, combination in

the    form    of    trust       or    otherwise,       or   conspiracy,          in

restraint of trade or commerce.”                     15 U.S.C. § 1.            Under

Section 1, acts undertaken by one market participant


                                         81
may be perfectly legal, but an agreement to perform the

same acts by a conglomerate of market participants can

be a punishable offense.                  Courts have not subjected

this provision to strict scrutiny.                   The second statute

cited by the Attorney General is the federal conspiracy

statute,     which    outlaws    conspiracies           to    “defraud      the

United       States.”           18         U.S.C.       § 371.              The

constitutionality of the federal conspiracy statute has

not   been    seriously    questioned,           even    though       no    law

separately     makes     defrauding            the   United      States      an

unlawful object.

      The Attorney General’s reliance on the Sherman Act

and the federal conspiracy statute misses a critical

point: neither law contemplates agreements to perform

acts that some States deem worthy of affirmative legal

protections.          Conspiring          to     restrain       trade       and

conspiring     to    defraud    the       United     States    may    not    be

explicitly     prohibited       in    the        U.S.    Code,       but    the

Attorney General would be hard-pressed to argue that


                                     82
either act involves ‘lawful’ conduct in any meaningful

sense of the term.      The lawfulness of abortion, on the

other hand, varies by State and gestational age.       Some

States regard the freedom to terminate a pregnancy as

so sacred that the liberty interest is protected in

their constitutions.      See, e.g., Hodes & Nauser, MDs,

P.A. v. Schmidt, 440 P.3d 461, 486 (2019); Valley Hosp.

Ass’n v. Mat-Su Coal. for Choice, 948 P.2d 963, 969

(Alaska 1997); Mich. Const. art I, § 28.          Defrauding

the United States and restraining trade, which no State

affirmatively     permits,    are   fundamentally     unlike

abortions   and   the   patchwork   of   legal   protections

nationwide surrounding them.

    Another noteworthy distinction is that Congress has

the constitutional authority to criminalize the acts of

restraining trade and defrauding the United States.       In

fact, Section 2 of the Sherman Act punishes unilateral

restraints on trade, making it a felony for anyone “to

monopolize any part of the trade or commerce among the


                             83
several States.”            15 U.S.C. § 2.          Similarly, courts

have    interpreted        the    federal    conspiracy         statute   to

reach agreements to bribe government officials, steal

money or property from the government, and make false

statements to the government, all of which Congress can

and     has    separately        prohibited.         See     Abraham       S.

Goldstein, Conspiracy to Defraud the United States, 68

Yale    L.J.       405,    436-41    (1959).       By     contrast,       the

Constitution        forbids      Alabama    from   prosecuting       people

for    engaging      in    lawful    out-of-state         conduct.        See

Nielsen, 212 U.S. at 321.              Neither the Sherman Act nor

the federal conspiracy statute represents an attempt by

Congress      to    accomplish      indirectly     what    it    cannot    do

through direct legislation, as the plaintiffs allege

the Attorney General is attempting to do here.

       The Attorney General also insists that Alabama has

the    authority      to    regulate      professional      speech    under

lesser constitutional scrutiny, including speech about

medical practices such as abortions.                    But the Supreme


                                     84
Court “has not recognized ‘professional speech’ as a

separate category of speech.”                  Nat’l Inst. of Fam. &

Life    Advocs.    v.    Becerra,    585       U.S.    755,    767   (2018).

Perhaps for this reason, the Attorney General abandons

this argument in his reply brief.

       Having    established     that         the     Attorney    General’s

attempt    to    invoke    Giboney       is    unavailing,        the   court

turns to whether the plaintiffs have stated a viable

First Amendment claim, taking the factual allegations

in their complaints as true.                   The plaintiffs submit

that the State plans to initiate a prosecution under

Alabama’s       statutes   punishing          conspiracy,        complicity,

solicitation, and other crimes based on the content of

the speech they and their staff wish to engage in about

out-of-state        abortions.            “[C]ontent-based              speech

regulations       face    ‘strict    scrutiny,’          the     requirement

that the government use the least restrictive means of

advancing a compelling government interest.”                         Burk v.

Augusta-Richmond Cnty., 365 F.3d 1247, 1251 (11th Cir.


                                    85
2004).

       The   Attorney       General      does    not    argue     that   his

threatened        prosecutions       can     satisfy   strict     scrutiny.

He     has   presented         no   other     reason   to    dismiss     the

plaintiffs’ First Amendment claim besides his attempt

to invoke the Giboney exception, which, as stated, does

not     extend        to   speech      in     furtherance       of   lawful

out-of-state          conduct.         His    motion   to    dismiss     the

as-applied First Amendment challenge will therefore be

denied.



             3.      Yellowhammer Fund’s Overbreadth Challenge

       Finally,        apart    from    the     as-applied      challenge,

Yellowhammer Fund claims that the Attorney General’s

reading      of       Alabama’s     interjurisdictional         conspiracy

statute         is      unconstitutionally         overbroad.            The

overbreadth doctrine allows courts to declare laws that

have     some        legitimate     applications       facially      invalid

because they infringe on the freedom of expression.                        A


                                       86
law is overbroad if it sweeps in so much protected

conduct that no “narrowing construction” can save it.

Osborne v. Ohio, 495 U.S. 103, 119 (1990).                       Generally,

overbreadth claims are asserted by parties when their

conduct   is   not    constitutionally          protected;           they   can

nonetheless     assert     that        the    law   regulating          their

conduct   “punishes      so     much    protected        speech      that    it

cannot be applied to anyone,” including them.                          United

States v. Hansen, 599 U.S. 762, 769 (2023) (emphasis in

original).      Because        facial    invalidation           is    “strong

medicine,”     courts     invoke        the    overbreadth           doctrine

“sparingly and only as a last resort.”                      Broadrick v.

Oklahoma, 413 U.S. 601, 613 (1973).                 “To justify facial

invalidation,    a      law’s     unconstitutional          applications

must be realistic, not fanciful, and their number must

be   substantially       disproportionate           to    the     statute’s

lawful sweep.”       Hansen, 599 U.S. at 770 (2023).

     Yellowhammer       Fund     alludes       to    the        overbreadth

doctrine in two counts of its complaint.                             The Fund


                                   87
alleges       that     the   Attorney        General’s         reading    of

Alabama’s       interjurisdictional          conspiracy    statute       “is

overbroad and imposes a content- and viewpoint-based

restriction” on speech and association.                    Yellowhammer

Fund’s Compl. (Doc. 1) ¶¶ 73, 80.

       Yellowhammer Fund does not support the overbreadth

claim with any factual contentions or legal arguments

aside from the allegations and arguments underlying the

as-applied challenge.          The complaint does not identify

any other act that Alabama either has prohibited or

could prohibit that would be lawful in other States and

that      the     Attorney      General’s         interpretation          of

conspiracy law would authorize him to prosecute.                         Nor

does    the     complaint    present     any   allegations       or   other

reason     to     suggest    that      the     Fund’s    constitutional

concerns      cannot    be   addressed       through    its     as-applied

challenge.

       Although      Yellowhammer   Fund’s      brief     in    opposition

offers some clarification about its overbreadth theory,


                                    88
the complaint remains devoid of sufficient allegations

to state a plausible claim for relief.                            The court will

therefore      grant          the     Attorney        General’s      motion       to

dismiss the Fund’s overbreadth challenge.



        C. Extraterritoriality, Sovereignty, and Comity

       Yellowhammer           Fund    next    argues       that    the    Attorney

General’s threatened prosecutions would amount to an

extraterritorial              application        of     Alabama’s         abortion

restrictions in violation of the Due Process Clause and

the     constitutional               principles       of     sovereignty         and

comity.       The parties agree that the Attorney General

does    not    intend         to     prosecute      conduct        occurring      in

another    State;        instead,       he    has     threatened         those   who

facilitate out-of-state conduct.                        Left unresolved is

whether       and        to     what      extent       the        constitutional

limitations         on    the        extraterritorial         application         of

state law are implicated when a state seeks to use its




                                         89
criminal law to deter or prevent specific out-of-state

conduct.

     After carefully considering Yellowhammer Fund’s and

the Attorney General’s arguments, the court concludes

that the parties each require more time to address this

novel      question.        The   court   therefore   will      reserve

judgment on the extraterritoriality claim.



                  D. Due Process – Fair Warning

     West     Alabama,      Alabama   Women’s    Center,       and   Dr.

Robinson contend that the Attorney General cannot act

on   his    threats    of   prosecution     without   violating      the

fair-warning requirement of the Fourteenth Amendment’s

Due Process Clause because, contrary to the Attorney

General’s assertion, Alabama law does not actually make

facilitating     lawful      out-of-state    abortions     a   crime.20




    20.   The  Attorney   General  also   contests  the
plaintiff healthcare provider’s third-party standing to
bring their fair-warning claim on behalf of their
(continued...)
                           90
Although the healthcare providers offer a compelling

argument that neither the 1896 conspiracy statute nor

any other Alabama law makes their assistance a crime,

their competing reading of state law is insufficient to

state a fair-warning claim.21




staff, and he does so by relying on the same argument
he made regarding these plaintiffs’ First Amendment
claim.   For the same reasons provided in the court’s
discussion of the First Amendment claim, the plaintiffs
also   have   third-party  standing   to  bring   their
fair-warning claim.

    21. The healthcare providers explain that the
interjurisdictional conspiracy statute codified the
Alabama Supreme Court’s holding in Thompson v. State
“that it is an indictable common-law misdemeanor to
enter into a conspiracy in [Alabama] to commit a known
common-law felony, malum in se, in a sister state.” 17
So. 512, 516 (Ala. 1895).       The proposal to add an
interjurisdictional conspiracy statute to Alabama’s
criminal   code  described    the  intended  change  as
“[s]uggested by Thompson v. State.”     West Alabama et
al.’s Compl. (Doc. 23) ¶ 45 (quoting Report of William
L. Martin, Code Commissioner of Alabama (1896), p. 91,
Ex. 1).    Because abortion is not malum in se, the
interjurisdictional conspiracy statute would not apply
to any agreements to have one performed. Furthermore,
the plaintiffs argue that none of Alabama’s general
criminal statutes operate interjurisdictionally either,
(continued...)
                           91
       The    Due     Process    Clause      requires        that    the    law

provide       fair    warning    of     what      it   prohibits.          This

principle has “long been part of our tradition,” United

States       v.   Bass,    404   U.S.      336,     348   (1971),     and    is

recognized          as     “fundamental        to      our     concept       of

constitutional liberty,” Marks v. United States, 430

U.S. 188, 191 (1977).            The United States Supreme Court

has recognized two ways that the right to fair warning

might be violated: first, when statutory language is so

vague     that       ordinary    people      cannot       understand       what

conduct is prohibited or that it encourages arbitrary

and discriminatory enforcement, Kolender v. Lawson, 461

U.S.     352,       357    (1983);      and,      second,     when     courts

retroactively apply “a novel construction of a criminal

statute to conduct that neither the statute nor any

prior    judicial         decision    has   fairly        disclosed    to    be

within its scope,”            United States v. Lanier, 520 U.S.



as the text of those statutes does not allow for such
an application.

                                      92
259, 266 (1997).          The healthcare providers argue that

the   Attorney     General’s   threatened           prosecutions     would

violate the right to fair warning in the latter sense,

as    he   intends   to    prosecute        based    on   a    reading    of

Alabama law that the plaintiffs insist is unprecedented

and unfounded.

      Fair-warning claims based on novel interpretations

of state law are governed by the standard articulated

in Bouie v. City of Columbia, 378 U.S. 347 (1964).                        In

Bouie, the Supreme Court considered whether defendants

who    had    participated        in    a     sit-in      to     oppose    a

restaurant’s racial segregation could constitutionally

be convicted for violating South Carolina’s trespass

statute.       Id. at 348-49.           The text of the trespass

statute      prohibited    only    the       “entry”      onto    property

against the owner’s or tenant’s will, but in affirming

the defendants’ convictions, the South Carolina Supreme

Court construed the statute as also covering the act of

remaining     on   another’s   property        after      being   told    to


                                   93
leave.     Id. at 349-50.          The United States Supreme Court

held that this “unforeseeable and retroactive judicial

expansion of narrow and precise statutory language” was

unconstitutional.            Id.      at     352.          Just       as      the

Constitution’s       Ex     Post    Facto        Clause    bars       a    state

legislature from passing a law that “makes an action

done    before    the     passing    of    the     law,    and    which       was

innocent when done, criminal,” the Due Process Clause

bars a state court “from achieving precisely the same

result    by     judicial    construction.”               Id.    at       353-54.

Thus, the rule that emerged from Bouie is that, under

the Due Process Clause, “a judicial construction of a

criminal         statute      [that]         is      ‘unexpected              and

indefensible’ by reference to the law which had been

expressed prior to the conduct in issue’ ... must not

be given retroactive effect.”              Id. at 354.

       The Bouie rule is inapplicable here, where no court

has construed Alabama law consistent with the Attorney

General’s        interpretation            nor      applied           such      a


                                     94
construction      retroactively       to    a    defendant’s      conduct.

The “judicial construction” and “retroactive” elements

are essential to finding a fair-warning violation under

Bouie.     Due process is denied due to a lack of fair

warning only when a court’s novel interpretation of law

results in retroactive punishment of conduct that was

legal when it occurred.               By contrast, as a general

matter, a prosecution based on an untested legal theory

does     not      necessarily        offend        the      fair-warning

requirement.        While facing prosecution is undoubtedly

burdensome, defendants may seek to dismiss the charges

against them in a state-court proceeding on the ground

that their conduct was not actually a crime.                       If the

court    agrees   and     dismisses       the   charge,    it    would    be

difficult to argue that the defendant was denied due

process.       It    is     only    if     the     court    adopts       the

prosecution’s             unexpected             and        indefensible

interpretation       of    the     law,     and    the     defendant      is

convicted does a fair-warning issue arise.                      The act of


                                    95
prosecution      or,        in    this       case,      the     threat       of

prosecution,         does        not        generally         violate       the

fair-warning     requirement           under    Bouie,      even     if    such

prosecution relies on an “unexpected and indefensible”

theory   of    the   law.         West      Alabama,       Alabama   Women’s

Center, and Dr. Robinson’s fair-warning claim will be

dismissed.22



                             IV. CONCLUSION

    This      case   is   simply       about    how    a    State    may    not

prevent people within its borders from going to another

State, and from assisting others in going to another

State, to engage in lawful conduct there.                       Alabama can

no more restrict people from going to, say, California




    22. The Attorney General also contends that the
Eleventh Amendment prohibits the court from resolving
the plaintiffs’ fair-warning claim.   Because the court
will dismiss the fair-warning claim for failing to
allege a plausible claim under Bouie, the court need
not address the Attorney General’s argument to dismiss
the fair-warning claim on Eleventh Amendment grounds.

                                       96
to engage in what is lawful there than California can

restrict people from coming to Alabama to do what is

lawful    here.        In    this    sense,    the       case   is   not   an

“especially difficult call.”               Dobbs v. Jackson Women’s

Health Org., 597 U.S. 215, 346 (2022) (Kavanaugh, J.,

concurring).

       Therefore,      the   plaintiffs     here        correctly    contend

that     the    Attorney       General     cannot        constitutionally

prosecute people for acts taken within the State meant

to facilitate lawful out of state conduct, including

obtaining an abortion.            Although the court will dismiss

the fair notice and overbreadth claims, the plaintiffs

have sufficiently alleged that the Attorney General’s

threats, if carried out, would violate the right to

travel    and   the     freedom     of    speech.         The   court   also

reserves judgment on four of Yellowhammer Fund’s claims

regarding the Fund’s own right to travel, freedom of

association,      expressive        conduct,      and    extraterritorial

application       of   state    law.        The     Attorney     General’s


                                     97
motion to dismiss will therefore be granted in part and

denied in part.

                                 ***

      For    the   reasons   stated    above,   it    is   ORDERED    as

follows:

      (1) The defendant’s motion to dismiss (Doc. 28) is

granted as to the overbreadth claim and fair-notice due

process claim, which are dismissed.

      (2) The defendant’s motion to dismiss is denied as

to the following claims: the right-to-travel claim, the

freedom-of-speech       claim   (including      the   argument   that

facilitating abortions constitutes expressive conduct),

the         freedom-of-association         claim,          and       the

extraterritoriality claim.

      DONE, this the 6th day of May, 2024.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




                                 98
